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13
14                        UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16
     Crystal Cruises, Inc. and Crystal Ship   No. 2:10-cv-08736 PSG (JCx)
17   Three (Bahamas) Limited,
18
                             Plaintiffs       OMNIBUS OPPOSITION TO
19        v.                                  DEFENDANTS’ MOTIONS TO
20   Moteurs Leroy-Somer S.A.; Leroy-         DISMISS OF FOR LACK OF
     Somer;                                   PERSONAL JURISDICTION AND
21   Emerson Electric Company; and            MOTION FOR LEAVE TO
22   DOES 1                                   CONDUCT JURISDICTIONAL
     through 20, Inclusive,                   DISCOVERY
23
24                           Defendants.
25
26
27
28

     MEMORANDUM IN OPPOSITION TO MOTIONS TO DISMISS FOR LACK OF PERSONAL
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10   Data Disc, Inc. v. Sys. Tech. Assoc., Inc., 557 F.2d 1280, 1285 n. 1 (9th
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20         1868, 80 L.Ed. 2d 404 (1984)................................................................................4
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     Mitan v. Feeney, 497 F. Supp. 2d 1113, 1119 (C.D. Cal. 2007) .....................................7
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23        Cal. 2001) ..............................................................................................................7
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 2         other grounds, 499 U.S. 585 (1991)....................................................................12

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 1   MAY IT PLEASE THE COURT:
 2
           NOW INTO COURT, through undersigned counsel, come plaintiffs, Crystal
 3
     Cruises, Inc. and Crystal Ship Three (Bahamas) Limited (hereinafter collectively
 4
 5   referred to as “Crystal” or “Plaintiffs”), and respectfully submit the instant
 6
     Memorandum in Opposition to the Motions to Dismiss for Lack of Personal
 7
     Jurisdiction filed by defendants, Moteurs Leroy-Somer, S.A. (“MLS”) and Leroy-
 8
 9   Somer (“LS”) (hereinafter collectively referred to as “Leroy-Somer”) (Docket Event
10
     Nos. (“DE”) 21 and 24):
11
12                                        Introduction

13         The Motions to Dismiss are premature. Leroy-Somer has not answered the
14
     allegations asserted against it, it has not explained its corporate relationship with
15
16   Emerson Electric Company (“Emerson”) and Emerson’s numerous affiliates, and it has

17   not answered recent discovery addressing its contacts with the State of California.
18
     Crystal requests that the Motions to Dismiss be denied, without prejudice, and that this
19
20   court allow it to conduct jurisdictional discovery prior to the court’s consideration of

21   the Motions to Dismiss. The requested discovery is warranted because, even at this
22
     preliminary stage of the lawsuit, Crystal can make a “colorable” showing that Leroy-
23
24   Somer and Emerson are related corporate entities such that jurisdiction over Emerson

25   is the same as jurisdiction over Leroy-Somer, and that Leroy-Somer has contacts with
26
     the State of California such that it should be subject to general jurisdiction in this
27
28   forum.

                                                1
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 1                                          Background
 2            Crystal filed this lawsuit to recover costs incurred by it to perform substantial
 3   repairs to six (6) defective generators installed on board a luxury ocean liner, the
 4   CRYSTAL SERENITY.1 Each of these eleven thousand (11,000) volt LSA 62-80/12P
 5   generators was designed, marketed, and manufactured by defendants, Emerson and
 6   Leroy-Somer. Emerson has not contested that jurisdiction over it is proper in this
 7   court.
 8            Crystal is a California corporation that operates luxury cruise vessels.        On
 9   December 12, 2000, Nippon Yusen Kaisha, a/k/a “NYK LINE,” the parent of Crystal
10   Cruises, Inc., entered into a contract with Chantiers De L’Atlantique (“CAT”) for the
11   construction of a new cruise ship that would later become known as the CRYSTAL
12   SERENITY. On February 28, 2001, CAT notified NYK Line and Crystal that it had
13   selected Leroy-Somer as the vendor to manufacture and install the six generators that
14   would be used on the CRYSTAL SERENITY in the vessel’s main propulsion system.
15            NYK Line and Crystal questioned the experience and capability of Leroy-Somer
16   to design, manufacture and construct these generators. Leroy-Somer and Emerson
17   represented at all times that Leroy-Somer had the requisite experience to complete the
18   work; these representations were false.          Emerson and Leroy-Somer marketed
19   themselves as a single corporate entity, thereby encouraging NYK Line and Crystal to
20   rely upon the technological and financial resources and worldwide reputation of
21   Emerson. These representations included the furnishing of informational materials in
22   which Emerson and Leroy-Somer are represented as a single corporate entity.
23            While the CRYSTAL SERENITY was undergoing a scheduled dry-docking in
24   November of 2008, partial discharge activity in the generators was first discovered. A
25   representative of Leroy-Somer was called out to perform an inspection of the
26   generators and to make recommendations for repairs. These repairs commenced in
27
     1
       All background facts have been pled in Crystal’s First Supplemental and Amending Complaint.
28   See DE 14.
                                                  2
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 1   January of 2009, but were halted soon thereafter due to concerns about the quality of
 2   the repair work.
 3           In March of 2009 generator no. 6 sustained an electrical failure as a result of
 4   partial discharge degradation. It was discovered that the other five generators were
 5   experiencing similar problems and would ultimately fail. The defects in the generators
 6   were not apparent at the time of sale or prior to the dry-docking of the CRYSTAL
 7   SERENITY in November of 2008. It became necessary for Crystal to completely
 8   rewind all six generators, thereby incurring substantial costs for which it now seeks
 9   recovery.
10                                     Procedural History
11           Crystal filed the instant lawsuit against Emerson and Leroy-Somer in November
12   of 2010. Crystal asserts the following claims, amongst others, against Emerson and
13   Leroy-Somer: (1) negligent manufacture; (2) breach of implied warranty of
14   merchantability; (3) breach of implied warranty of fitness for a particular purpose; (4)
15   breach of express warranty; and (5) negligent misrepresentation and concealment.
16           Crystal further alleges that Emerson and Leroy-Somer are alter egos and/or
17   agents of one another. For example, Emerson and Leroy-Somer “marketed themselves
18   as a single corporate entity, thereby encouraging NYK Line and Crystal to rely upon
19   the technological and financial resources and worldwide reputation of Emerson.”2 In
20   addition, “Leroy-Somer, either directly or through their agents, and/or alter egos, made
21   representations of material fact regarding the design, quality, performance, reliability,
22   cost-efficiency and maintenance of its generators.”3
23           Emerson filed an Answer consisting of a general denial on January 18, 2011.4
24   Service on MLS and LS was perfected pursuant to the Hague Convention on March
25   10, 2011, and April 4, 2011, respectively.5 On April 28, 2011, MLS and LS filed
26
     2
         See DE 14 at ¶11.
27   3
         Id. at ¶59.
     4
         See DE 12.
28   5
         See DE 18 and 19.
                                                3
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 1   Motions to Dismiss for Lack of Personal Jurisdiction.6 Emerson, MLS and LS are all
 2   represented by the same counsel.
 3            On May 11, 2011, Crystal propounded written discovery to Emerson and Leroy-
 4   Somer which address the corporate relationship of the defendants and their contacts
 5   with California.7 Upon receipt of these responses it may also be necessary to depose
 6   corporate or other representatives of each entity to fully explore these areas of inquiry.
 7            Against this backdrop Crystal opposes the Motions to Dismiss as premature, and
 8   respectfully requests that it be permitted to proceed with the above-described
 9   discovery.
10                            Request to Conduct Jurisdictional Discovery

11   A.       Crystal believes information developed through discovery will show that
12            general jurisdiction exists over the Leroy-Somer entities.

13
              General jurisdiction permits a court to exercise personal jurisdiction over a non-
14
     resident defendant when the defendant’s activities in the forum are substantial,
15
     continuous and systematic, even if the cause of action is unrelated to the defendant’s
16
     forum-related activities.8 Crystal recognizes that the standard that must be met to
17
     establish general jurisdiction is more stringent than the showing of minimum contacts
18
     necessary to obtain specific jurisdiction.9 It is well-established that a parent-subsidiary
19
     relationship alone is insufficient to attribute the contacts of one company to the other
20
     company for jurisdiction purposes.10            However, California courts recognize two
21
     exceptions to this general rule; the contacts of a subsidiary may be imputed to the
22
     parent where the subsidiary is the parent’s alter ego, or where the subsidiary acts as the
23
24
25   6
          See DE 21 and 24.
26   7
          See written discovery attached hereto as Exhibit “A.”
     8    Helicopteros Nacionales de Colombia v. Hall, 466 U.S. 408, 80 104 S.Ct. 1868, 80 L.Ed. 2d 404
27        (1984); Paneno v. Centres for Academic Programs Abroad, Ltd. (2004) 118 Cal.App. 4th 1447.
     9    Boaz v. Boyle & Co. (1995) 40 Cal.App.4th 700.
28   10   Transure, Inc. v. Marsh and McLennan, Inc., 766 F.2d 1297 (9th Cir. 1985).
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 1   agent of the parent.11 Under the representative services doctrine, a type of agency
 2   relationship, jurisdiction over a parent is found to exist where the parent uses a
 3   subsidiary to do what it otherwise would have done itself in the operational sense.12
 4   Additionally, the representative services doctrine has been applied outside of the
 5   parent-subsidiary context where two companies are separately owned affiliates, but
 6   one company performs functions in furtherance of the other company’s business.13
 7            Crystal believes from its investigation to date, as detailed hereinafter, that
 8   general jurisdiction exists pursuant to agency principles, specifically the representative
 9   services doctrine.       Emerson has not contested that it is subject to jurisdiction in
10   California. In the present instance it appears that Emerson incorporates Leroy-Somer
11   component parts and products into Emerson products. These Emerson products are
12   placed into the stream of commerce and sold throughout the United States. Without
13   Leroy-Somer, Emerson would have to manufacture these component parts itself.
14   Without Emerson, Leroy-Somer would be forced to conduct further marketing and
15   selling of its products in places such as California. In other words, Emerson and
16   Leroy-Somer are each doing work that the other company would have to perform itself
17   if such a mutually beneficial relationship did not exist. The information set out
18   hereinafter suggests that Leroy-Somer products are being substantially, continuously
19   and systematically sold and distributed within California both by Leroy-Somer and
20   through Emerson.
21            Further, in addition to LS and MLS, an additional entity known as Leroy-Somer-
22   North America exists. Upon information and belief Leroy-Somer-North American is a
23   division of Emerson and it sells, services, and markets Leroy-Somer’s products
24   throughout North America, including California.               Due to the complex nature of
25
26   11   Paneno, supra, 118 Cal.App. 4th 1447, 1455-56; Chan v. Society Expeditions, Inc., 39 F.3d 1398
           (9th Cir. 1994).
27   12   F. Hoffman LaRoche, Ltd. v. Superior Court (2005) 130 Cal. App. 4th 782; Chan v. Society
          Expeditions, Inc., 39 F.3d 1398 (9th Cir. 1994).
28   13   Paneno, supra, 118 Cal.App. 4th 1447.
                                                      5
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 1   Emerson’s business structure discovery is necessary to determine the exact inter-
 2   relationship between all three Leroy-Somer entities, as well as their relationship with
 3   Emerson. If it turns out that something other than a traditional parent-subsidiary
 4   relationship exists jurisdiction may exist regardless of whether the representative
 5   services doctrine applies.
 6            With respect to the question of whether specific jurisdiction over Leroy-Somer
 7   exists jurisdictional discovery is also necessary to address this issue.
 8            In summary, the record is simply not developed at this juncture to enable Crystal
 9   or the court to determine the extent of Leroy-Somer activities in California or whether
10   the alter ego or certain agency theories are applicable such that general or special
11   jurisdiction exists.       Leroy-Somer’s Motions to Dismiss are also premature since
12   Crystal should be given the opportunity to explore Emerson’s corporate business
13   structure.
14   B.       The Court has broad discretion to order jurisdictional discovery.
15            A district court has broad discretion to permit discovery to aid in determining
16   whether it has in personam jurisdiction.14 Discovery should ordinarily be granted
17   where pertinent facts bearing on the question of jurisdiction are controverted, as is the
18   case here, or where a more satisfactory showing of the facts is necessary.15
19            The Ninth Circuit has held that denying jurisdictional discovery where such
20   discovery has the possibility of demonstrating a basis for jurisdiction is an abuse of
21   discretion.16      Although there is no definitive Ninth Circuit authority specifically
22   addressing the level of showing that a plaintiff must make to be entitled to
23   jurisdictional discovery, some District Courts in this Circuit have required a plaintiff to
24
     14
          Data Disc, Inc. v. Sys. Tech. Assoc., Inc., 557 F.2d 1280, 1285 n. 1 (9th Cir. 1977).
25   15
          Butcher's Union Local No. 498, United Foods & Commercial Workers v. SDC Inv., Inc., 788 F.2d
26        535, 540 (9th Cir. 1986) (quoting Data Disc, Inc., 557 F.2d at 1285 n.1).
     16
          Harris Rutsky & Co. Ins. Servs. Inc. v. Bell & Clements, Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003)
27        (holding that it was an abuse of discretion for the trial court to deny plaintiff’s motion for
          jurisdictional discovery without allowing plaintiff the opportunity to develop the record to make a
28        prima facie showing of facts supporting jurisdiction).
                                                         6
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 1   establish, at most, a “colorable basis” for personal jurisdiction before discovery is
 2   ordered.17 This “colorable” showing is minimal; it has been described as something
 3   less than a prima facie showing, and could be equated as requiring the plaintiff to
 4   come forward with “some evidence” tending to establish personal jurisdiction over the
 5   defendant."18 One court within this Circuit has found that a plaintiff is not obligated to
 6   demonstrate a prima facie showing of personal jurisdiction before it can obtain
 7   jurisdictional discovery because it is counterintuitive to require a plaintiff, prior to
 8   conducting discovery, to meet the same burden that is required to defeat a motion to
 9   dismiss.19
10          As set forth below, Crystal has discovered evidence which is more than
11   sufficient to make a “colorable” showing of Leroy-Somer’s contacts with the State of
12   California, assuming this Court were to determine that such a showing is required.
13   C.     Crystal has made more than a “colorable” showing of contacts to warrant
14          jurisdictional discovery.
15
            The power of a federal court to exercise jurisdiction over a non-resident
16
     defendant turns on two factors: (1) whether a state long-arm statute confers personal
17
     jurisdiction; and (2) whether exercising jurisdiction comports with due process.20
18
     California’s long-arm statute provides that California courts may exercise jurisdiction
19
     on any basis not inconsistent with the Constitution of the State of California or of the
20
     United States.21 The question is therefore whether the exercise of personal jurisdiction
21
     over Leroy-Somer is consistent with federal due process.
22
23
24   17
        See, e.g., Mitan v. Feeney, 497 F. Supp. 2d 1113, 1119 (C.D. Cal. 2007); eMag Solutions, LLC v.
        Toda Kogyo Corp., No. C 02-1611 PJH, 2006 U.S. Dist. LEXIS 94462 (N.D. Cal. 2006); see also
25
        Chapman v. Krutonog, 256 F.R.D. 645, 649 (D. Haw. 2009).
26   18
        Mitan, 497 F. Supp. 2d at 1119 (citing Orchid Biosciences, Inc. v. St. Louis Univ., 198 F.R.D. 670,
     672-73 (S.D. Cal. 2001)).
27   19
        Orchid Biosciences, Inc. v. St. Louis Univ., 198 F.R.D. 670, 672-73 (S.D. Cal. 2001).
     20
        Data Disc, Inc., 557 F.2d at 1285.
28   21
        Cal. Code Civ. Proc. § 410.10 (2010).
                                                      7
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 1            The cornerstone of the due process inquiry is an analysis of a defendant’s
 2   contacts with the selected forum.22 Jurisdiction is proper if a defendant has certain
 3   minimum contacts with the forum such that maintenance of the suit does not offend
 4   traditional notions of fair play and substantial justice.23             In order to make this
 5   determination courts focus on the relationship between the defendant, the forum, and
 6   the litigation.24 Here, Crystal believes that Leroy-Somer’s contacts with the forum are
 7   substantial enough such that they give rise to general jurisdiction.
 8            1.     Contacts and Corporate Relationship.
 9            Crystal has discovered the following information with respect to Leroy-Somer’s
10   contacts with the State of California, as well as information evidencing a corporate
11   relationship between Leroy-Somer and Emerson that would support a finding of
12   jurisdiction over Leroy-Somer:
13   1)       Emerson has not challenged the court’s jurisdiction over it.
14
     2)       Emerson and Leroy-Somer marketed themselves as a single corporate entity,
15            thereby encouraging Crystal and NYK Line to rely upon the technological and
16            financial resources and worldwide reputation of Emerson.25

17   3)       Emerson and Leroy-Somer list their combined sales revenue and combined
              number of worldwide employees.26
18
19   4)    Leroy-Somer is listed as a “main business” of Emerson for building drive
     systems.27
20
     5)       During fiscal year 1999 Leroy-Somer generated $169 million in sales
21            throughout North America.28
22
     6)       Leroy-Somer operates two industrial sites in North America.29
23
     22
          Tauzon v. R.J. Reynolds Tobacco Co., 433 F.3d 1163, 1169 (9th Cir. 2006).
24   23
          Id.
     24
          Shaffer v. Heitner, 433 U.S. 186, 204, 97 S.Ct. 2569, 53 L.Ed. 2d. 683 (1997).
25   25
          See presentation entitled “Emerson: A Century of Manufacturing [and] Leroy-Somer: a Century of
26        Experience,” a true and correct copy of which is attached hereto as Exhibit “B,” which was
          provided to NYK Line/Crystal through CAT.
27   26
          Id. at p. 2.
     27
          Id. at p. 3.
28   28
          Id. at p. 8.
                                                      8
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 1   7)     Although LS denies that it is in the business of designing, manufacturing, and
 2          marketing generators, MLS does not deny these allegations.30

 3   8)     An entity known as “Leroy-Somer North America” or “Leroy-Somer-NA” has
            three sales representatives within the State of California:
 4
 5                 1. Harold Wells Associates, Inc.
                      3223 Crow Canyon Road, suite 300
 6                    San Ramon, CA 94583
 7                    Tel: 925-355-9900
                      Fax: 925-355-9901
 8
 9                 2. R. F. Partridge & Associates, Inc.
                      13875 Cerritos Corp. Drive #B
10                    Cerritos, CA 90703
11                    Tel: 562-802-7345
                      Fax: 562-802-3186
12
                   3. Electric Power Support
13
                      4563 Lambeth Court
14                    Carlesbad, CA 92008
                      Tel: 760-720-2051
15
                      Fax: 760-720-250231
16
     9)     Emerson acquired Leroy-Somer in 1992.32
17
     10)    In April of 1999, Leroy-Somer-NA, a division of Emerson, was formed.33
18
19   11)    LS represents that as a member of the Emerson Group, “it has developed a long-
            term growth strategy, backed up by resources and synergies offered by a large
20          international group.”34
21
22
23   29
        Id. at p. 10.
     30
        See affidavits of Mr. Xavier Guy Tranchant, CEO of MLS and LS, and forming part of the Record
24       at DE 22 and 25.
     31
        www.leroysomer-na.com/dreplist.html, a true and correct copy of which is attached hereto as
25
     Exhibit “C.”
26   32
        www.leroy-somer-na.com/history.html, a true and correct copy of which is attached hereto as
     Exhibit “D.”
27   33
        Id.
     34
        www.leroy-somer.com/en/company/, a true and correct copy of which is attached hereto as Exhibit
28   “E.”
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 1   12)    LS further represents that it has created an international network of 470 centers
 2          of expertise worldwide, with a 10,000-strong workforce operating through
            subsidiaries in the main industrialized countries, with industrial sites in Europe,
 3          North and South America, Mexico, India, and China.35
 4
     13)    In a recent press release announcing that Emerson would sell its Motors and
 5          Appliance Controls business to Nidec Corporation, it represented that it would
            continue to operate its large motor-based business in Europe (Leroy-Somer).36
 6
 7   14)    Emerson, LS, and Leroy-Somer-NA are all referenced in a trade publication
            discussing a major re-design of a line of generators.37
 8
     15)    Leroy-Somer-NA has represented in court pleadings that it is a division of
 9
            Emerson, and as such, it is not a separate entity.38
10
     16)    Leroy-Somer selected Shermco Industries as its authorized service provider for
11          Leroy-Somer products in North America.39
12
     17)    Emerson’s list of subsidiaries and affiliates, included in its Form 10-k filed with
13          the Securities and Exchange Commission (“SEC”) dated 11/23/10, lists nineteen
14          companies with “Leroy-Somer” included in their name.40

15   18)    Leroy-Somer describes itself as offering a complete range of special electric
            motors and alternators for cruise and merchant ships designed to respond to the
16          most stringent specification in a specialized market.41
17
     19)    In 1999, Claude Henry was president of Leroy-Somer and also Group vice-
18          president of Emerson Electric.42
19   20)    LS motors are promoted as being sold in connection with drives manufactured
20          by Emerson and its affiliate, Control Technologies at the California Drive
21   35
        Id.
22
     36
        www.emerson.com/en-US/newsroom/news-releases/emerson-financial-news/Pages/Emerson-to-
        Sell-Motors-and-Controls-Businesses.aspx, a true and correct copy of which is attached hereto as
23      Exhibit “F.”
     37
        “New Generators from Leroy-Somer division of Emerson Electric,” Diesel Progress North
24      America, May 1999, a true and correct copy of which is attached hereto as Exhibit “G.”
     38
        See, e.g., Flatt v. Leroy-Somer, N.A., C.A. No. 09-01229 (USDC WD Tenn.), a true and correct
25
        copy of which is attached hereto as Exhibit “H.”
26   39
        See press release of Shermco Industries dated May 12, 2008, and attached hereto as Exhibit “I.”
     40
        See list of subsidiaries and affiliates at p. 72, and attached hereto as Exhibit “J.”
27   41
        See Leroy-Somer News, 1919-1999, a true and correct copy of which is attached hereto as Exhibit
     “K,” p. 13.
28   42
        Exhibit “K,” p. 3.
                                                    10
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 1         Center in Long Beach, CA. Control Techniques represents that it has access to
 2         an “extensive” product range from its sister company – Leroy-Somer.43 Leroy-
           Somer motors are combined with Control Techniques drives.
 3
     21)   Leroy-Somer has a subsidiary in the United States called MLS Industries, Inc.
 4
           MLS Industries, Inc., sold a company called Bearings Inc., headquartered in
 5         Corona California, to King Bearings, Inc. in 1990.44
 6   22)   A business named U.S. Electrical Motors-Leroy Somer Inc is located in
 7         Fremont, California.45
 8   23)   Leroy-Somer attends trade fairs in California such as the American Wind
           Energy Association (AWEA), WINDPOWER 2011 Conference & Exhibition in
 9
           Anaheim, California.46
10
     24)   Leroy Somer exports products that pass through the Port of Los Angeles.47
11
     25)   A company, known as “Generator Joe” located in Santa Rosa, California
12
           advertises that it sells generators containing alternators manufactured by LS.48
13
     26)   A company, Central California Power, located in Shafter, California, represents
14         that it assembles and sells generators containing LS generator ends.49
15
     27)   A company known as Hardy Diesel Specialists located in Jamal, California
16         represents that it is a distributor of LS generator ends.50
17   28)   A company known as Electric Motor Works located in Bakersfield, California
18         distributes electric motors manufactured by LS.51
19
20   43
         See Company Techniques Company Profile at p. 8, avail. at http://www.controltechniques.com/
         CTcom/PDF/CT%20Company%20 Profile%200411%20lo.pdf, and attached as Exhibit “L.”
21   44
         Bearings Inc. Announces Completion of King Bearing Inc. Acquisition, PR Newswire, June 29,
22       1990, and attached hereto as Exhibit “M.”
     45
         www.yellowbook.com/profile/electrical-motors-leroy-somer-inc_1844401217.html, a true and
23       correct copy of which is attached hereto as Exh.“N.”
     46
         www.leroy-somer.com/en/news/trade_fairs.php?s=308, a true and correct copy of which is
24      attached hereto as        Exhibit “O.”
     47
         www.importgenius.com/importers/leroy-somer-co, a true and correct copy of which is attached
25
     hereto as Exh. “P.”
26   48
         See Generator Joe advertisement attached hereto as Exhibit “Q.”
     49
         www.gensets.com and www.bizearch.com/company/Central_California_Power_156188.htm, a
27       true and correct copy of which is attached hereto as Exhibit “R.”
     50
         www.hardydiesel.com/generator-ends, a true and correct copy of which is attached hereto as
28   Exhibit “S.”
                                                  11
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 1   29)      On October 7, 2010, it was announced that Quanta Services awarded Emerson,
 2            through its Industrial Automations Control Techniques business, a contract to
              supply power inverters and plant-wide controls for California’s largest
 3            photovoltaic power generation facility. It is unknown whether LS products have
 4            been used in connection with this contract. However, Leroy-Somer represents
              that it has specialized in power conversion for over thirty-five years and has
 5            developed photovoltaic energy conversion solutions. The facility will provide
 6            power to 36,000 homes. We have seen in No. 20 above, that Leroy-Somer
              products are combined with Control Techniques products.52
 7
 8            2.      Reasonableness.
 9            Leroy-Somer’s arguments concerning fair play and substantial justice are
10   premature prior to Crystal conducting the requested discovery because at this juncture
11   defendants have not offered any explanation regarding the corporate structure of
12   Leroy-Somer and/or Emerson. Nonetheless, it is entirely reasonable to require Leroy-
13   Somer to defend itself in California.
14            The Ninth Circuit evaluates the reasonableness of asserting general and specific
15   jurisdiction according to the following factors: (1) the extent of purposeful interjection;
16   (2) the burden on the defendant to defend the suit; (3) the extent of the conflict with the
17   sovereignty of defendant’s state; (4) the forum state’s interest in the dispute; (5) the
18   most efficient forum for resolution of the matter; (6) the importance of the chosen
19   forum to the plaintiff’s interest in convenient and effective relief; and (7) the existence
20   of an alternative forum.53 The burden is on defendants to present a compelling case
21   that the exercise of jurisdiction would in fact be unreasonable.54
22
23
     51
          http://www.electricmotorworks.com/inventory/?make=leroy-
24        somer&horsepower=&rpm=&motor_enclosure=&List+Motors=%3CSPAN%3EList+Motors%3C
          %2FSPAN%3E, a true and correct copy of which is attached hereto as Exhibit “T.”
25   52
          http://www2.emersonprocess.com/en-US/news/pr/Pages/1010-Quanta.aspx and www.leroy-
26        somer.com/en/markets/photovoltaic.html, a true and correct copy of which is attached hereto as
          Exhibit “U.”
27   53
          Amoco Egypt Oil Co. v. Leonis Navigation Co., 1 F.3d 848 (9th Cir. 1993).
     54
          Id.; Shute v. Carnival Cruise Lines, 897 F.2d 377 (9th Cir. 1990), rev’d on other grounds, 499 U.S.
28        585 (1991).
                                                        12
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 1            A weighing of the above-listed factors, to the extent possible at this time,
 2   indicates it is entirely reasonable to require Leroy-Somer to defend itself in California.
 3   Crystal’s principal place of business is located within the State of California. Given
 4   the amount of harm to California-based plaintiffs, California has a significant interest
 5   in this dispute. The evidence supporting Crystal’s claim for damages, and possibly
 6   other elements of its case, is located at Crystal’s principal place of business in
 7   California. Moreover, Emerson has not contested jurisdiction in this forum. If Crystal
 8   is not allowed to pursue its claims against Leroy-Somer, duplicative litigation arising
 9   out of the same set of underlying facts will likely ensue. It also appears that it is
10   economically advantageous for Leroy-Somer to remain a party to this litigation given
11   that all defendants are represented by the same counsel. As such, factors 4, 5, 6, and 7
12   favor Crystal’s position herein.
13            Regarding factors 1 and 2, it is true that the generators were manufactured in
14   France, and as such, certain witnesses may be located there.           It should not be
15   overlooked, however, that Leroy-Somer knew at all times it was being retained to
16   construct products that would be installed on board a luxury cruise liner which, by its
17   very nature, traverses the world. Discovery in this case will likely involve depositions
18   of representatives of Crystal’s parent company located in Japan, and the testimony of
19   witnesses from around the globe. Leroy-Somer’s assertion that the majority of the
20   witnesses are in France is not accurate.
21            In addition thereto, Leroy-Somer and Emerson jointly market themselves as an
22   electric     and    electronic   components   conglomerate   with   111,800    employees
23   worldwide.55 They further represent that they operate 470 sales outlets and service
24   centers worldwide.56 As previously discussed, Crystal expects to develop through its
25   requested discovery that Leroy-Somer component parts and products are incorporated
26   into Emerson products. These “Emerson” products are sold throughout the United
27
     55
          See Exhibit “B,” supra.
28   56
          Id.
                                                   13
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 1   States and in California. Considering the foregoing, and in light of the contacts
 2   mentioned in the preceding section, it appears Leroy-Somer does in fact interject its
 3   products into the California market and, given the global scope of its operations, it
 4   does not present a substantial burden for it to defend itself in this forum.
 5         An evaluation of the relevant factors at this preliminary stage of the litigation
 6   indicates that it is entirely reasonable to require Leroy-Somer to defend itself in this
 7   forum.
 8
 9                                           Conclusion
10         Based upon the foregoing, Crystal respectfully requests that the Court deny
11   Leroy-Somer’s Motion to Dismiss and to allow Crystal to proceed with discovery
12   pertaining to jurisdiction as well as the corporate relationship between Emerson and
13   the various Leroy-Somer entities. Specifically, Crystal should be entitled to explore
14   these areas of inquiry with written discovery, and if necessary, by taking a corporate or
15   other depositions of each defendant. Crystal submits that the requested discovery is
16   entirely reasonable given the above information and necessary in order for plaintiff to
17   file a more substantive opposition to the motions to dismiss. The requested discovery
18   should also be justified given the apparent complexity of the business activities of
19   defendants.
20
21   DATED:        May 16, 2011
22
                                      Respectfully Submitted,
23
24                                    FOWLER RODRIGUEZ VALDES-FAULI

25
26                                    By:           /s/ Norman C. Sullivan, Jr.
                                            Norman C. Sullivan, Jr. (State Bar No. 48762)
27                                          George J. Fowler, III (admitted pro hac vice)
28
                                                 14
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 1
 2                               NIXON PEABODY LLP

 3
 4                               By:         /s/ Kelly L. Kress
                                       William L. Robinson (State Bar No. 087647)
 5                                     Kelly L. Kress (State Bar No. 246368)
 6                                     Attorneys for Plaintiffs
                                       CRYSTAL CRUISES, INC. and
 7                                     CRYSTAL SHIP THREE (BAHAMAS)
 8                                     LIMITED
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 1                               CERTIFICATE OF SERVICE
 2
           I hereby certify that I have on this 16th day of May, 2011, served a copy of the
 3
 4   foregoing pleading on counsel for all parties to this proceeding via electronic filing with
 5   the District Court, by fax, e-mail or by mailing the same by United States Mail, properly
 6
     addressed, with first-class postage prepaid.
 7
 8
 9                                                       /s/ Kelly L. Kress
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